Case 1:23-cv-00013-MN          Document 73         Filed 11/14/24       Page 1 of 2 PageID #: 1971

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                                         November 14, 2024

VIA E-FILING

The Honorable Maryellen Noreika
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street, Room 4324, Unit 19
Wilmington, DE 19801-3555

                Re:    Crowell v. FCA U.S. LLC, C.A. No. 23-cv-00013-MN

Dear Judge Noreika:

        On behalf of the parties, I submit herewith the parties’ draft Scheduling Order. Other than

disagreements over particular dates, the draft reflects two principal disagreements that the parties

were unable to resolve. The parties have briefly set forth their respective positions on those issues

in the draft Scheduling Order as follows: (1) Limitation on Hours for Deposition Discovery (Par.

7(e)); (2) Case Dispositive Motions (Par. 10.). Additionally, the parties were unable to agree on

the deadlines for Expert Discovery Cut-Off, Motion for Class Certification, Objections to Expert

Testimony, Opposition to Class Certification Motion, and Oppositions to Expert Testimony. The

parties’ respective proposed dates for these deadlines are set forth in Paragraphs 7(f)(ii) and 9, and

are also set forth in the Chart of Relevant Deadlines appearing on the last page of the draft

Scheduling Order.

        More broadly, the draft Scheduling Order reflects the parties are in agreement that it would

be most efficient in this case to first focus on class certification issues, and to obtain the Court’s

decision on plaintiffs’ motion for class certification, prior to setting additional pre-trial deadlines.

For that reason, the draft Scheduling Order principally specifies certain deadlines for discovery
Case 1:23-cv-00013-MN         Document 73        Filed 11/14/24      Page 2 of 2 PageID #: 1972

The Honorable Maryellen Noreika
November 14, 2022
Page 2

and motion practice related to class certification issues, and proposes that the Court hold a status

conference subsequent to issuing a class certification decision to address the remainder of the

schedule.




                                                     Respectfully,

                                                     /s/ P. Bradford deLeeuw

                                                     P. Bradford deLeeuw
                                                     (Del. Bar No. 3569)


Cc:    Patrick M. Brannigan (via E-Filing)
